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17                               UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19 ELRETHA PERKINS and LARONICA                  Case No. 3:22-cv-3455-JD
   JOHNSON, individually and on behalf of all
20 others similarly situated,                    Hon. James Donato
21
                  Plaintiffs,                    NOTICE OF LODGING OF STIPULATION
22                                               REGARDING BRIEFING SCHEDULE AND
           v.                                    HEARING ON PLAINTIFFS’ MOTION TO
23                                               APPOINT INTERIM COUNSEL FOR A
   WELLS FARGO BANK, N.A. and WELLS              PUTATIVE REFINANCING CLASS
24 FARGO HOME MORTGAGE, INC.

25                Defendants.
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          NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO & COMPANY’S
       STIPULATION REGARDING BRIEFING SCHEDULE AND HEARING ON PLAINTIFFS’ MOTION TO
       APPOINT INTERIM COUNSEL FOR A PUTATIVE REFINANCING CLASS; CASE NO.: 3:22-cv-3455-JD
         Case 3:22-cv-03455-JD Document 29 Filed 08/08/22 Page 2 of 4




 1         TO THE HONORABLE JAMES DONATO, UNITED STATES DISTRICT COURT

 2 JUDGE, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3         PLEASE TAKE NOTICE that on August 8, 2022, Defendants Wells Fargo Bank, N.A.

 4 and Wells Fargo & Co.’s Stipulation Regarding Briefing Schedule and Hearing on Plaintiffs’

 5 Motion to Appoint Interim Counsel for a Putative Refinancing Class was filed in the case of

 6 Braxton v. Wells Fargo Bank, N.A., et al., Northern District of California Case No. 4:22-cv-

 7 01748-JD.

 8         A true and correct copy of the Stipulation is hereby lodged with this court as Exhibit A to

 9 this Notice of Lodging.

10
     DATED:        August 8, 2022
11
                                                 WINSTON & STRAWN LLP
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                                         By:     /s/ Amanda L. Groves
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           NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO & COMPANY’S
        STIPULATION REGARDING BRIEFING SCHEDULE AND HEARING ON PLAINTIFFS’ MOTION TO
        APPOINT INTERIM COUNSEL FOR A PUTATIVE REFINANCING CLASS; CASE NO.: 3:22-cv-3455-JD
     Case 3:22-cv-03455-JD Document 29 Filed 08/08/22 Page 3 of 4




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                                         Attorneys for Defendants
 4                                       WELLS FARGO BANK, N.A.,
                                         WELLS FARGO HOME MORTGAGE, INC.,
 5                                       AND WELLS FARGO & COMPANY
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        NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO & COMPANY’S
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         Case 3:22-cv-03455-JD Document 29 Filed 08/08/22 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE

 2         I hereby certify that on August 8, 2022, I electronically filed the foregoing document

 3 entitled NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO

 4 & COMPANY’S STIPULATION REGARDING BRIEFING SCHEDULE AND HEARING

 5 ON PLAINTIFFS’ MOTION TO APPOINT INTERIM COUNSEL FOR A PUTATIVE

 6 REFINANCING CLASS with the Clerk of the Court for the United States District Court,

 7 Northern District of California using the CM/ECF system and served a copy of same upon all

 8 counsel of record via the Court’s electronic filing system.

 9

10 Dated: August 8, 2022

11
                                                 By:/s/ Alicia A. Baiardo___________________
12                                               Alicia A. Baiardo
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           NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO & COMPANY’S
        STIPULATION REGARDING BRIEFING SCHEDULE AND HEARING ON PLAINTIFFS’ MOTION TO
        APPOINT INTERIM COUNSEL FOR A PUTATIVE REFINANCING CLASS; CASE NO.: 3:22-cv-3455-JD
